Case 2:22-cv-00360-WSS Document 1-2 Filed 02/28/22 Page 1 of 29




       Exhibit A
                    Case 2:22-cv-00360-WSS Document 1-2 Filed 02/28/22 Page 2 of 29




                                                                                                                null / WARBREACH
                                                                                                     Transmittal Number: 24436305
Notice of Service of Process                                                                            Date Processed: 02/07/2022

Primary Contact:           Rosemarie Williams
                           General Motors LLC
                           Mail Code 482-C23-SOP 300 Renaissance CTR
                           300 Renaissance Center
                           Detroit, MI 48265-0001

Entity:                                       General Motors LLC
                                              Entity ID Number 3113523
Entity Served:                                General Motors LLC
Title of Action:                              Jones, Steven, D. vs. General Motors LLC
Matter Name/ID:                               Jones, Steven, D. vs. General Motors LLC (11981927)
Document(s) Type:                             Notice and Complaint
Nature of Action:                             Breach of Warranty
Court/Agency:                                 Allegheny County Court of Common Pleas, PA
Case/Reference No:                            AR-22-000285
Jurisdiction Served:                          Pennsylvania
Date Served on CSC:                           02/07/2022
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Kimmel & Silverman PC (Ambler, PA)
                                              215-540-8888
Client Requested Information:                 Year: 2020
                                              Make: Chevrolet
                                              Model: Silverado
                                              VIN: 1HTKJPVK5LH856444
Notes:       Kimmel & Silverman, P.C., 30 East Butler Pike, Ambler, PA 19002

             CSC Location Document Was Served: Corporation Service Company, 2595 Interstate Drive, Suite 103,
             Harrisburg, PA 17110


Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                        Case 2:22-cv-00360-WSS Document 1-2 Filed 02/28/22 Page 3 of 29

                                                                                     Wl    ~Al
ROBERT M. SILVERMAN"'                                                                                                                                                  JACQUELINE C. HERRITIr-" —
                                                                                                                                                                                ROBERT A. RAPKIN'
CRAIGTHORKIMME L~~

' Member, PA Bar
                                                KIMMEL & SILVERMAN                                                                                                          ANGELA K. TROCCOLY°`
                                                                                                                                                                            JOSEPH D. STEWARD 1114
                                                                                                                                                                   W. CHRISTOPHER COMPONOVO -rr
'Member, NJBar                                                                         P.C.
                                                                                                                                                                             JASON L. GRESHES +! '
'Member, DEBar
-Member, NYBar                                                         1-800-LEMON LAW                                                                                          CHAD P. DOMAN' r
                                                                                                                                                                             JACOBU.GINSBURG"I
 Member, MA Bar                                                              www.lemonlaw.com                                                                                 MICHAEL MILEWSKI-'
° Member, MD Bar                                                                                                                                                               BLAKE K. WALSH°r"
• Member, OH Bar
°Member, NHBar                                                          CORPORATE HEADQUARTERS
;Member, CTBar                                                               30 E. Butler Avenue
"Member, TNBar                                                                Ambler, PA 19002
r Member, WYBar                                                                 P(215) 540-8888
''Member, DCBar                                                                 F (215) 540-8817
e Member, CA Bar
° Member, WI Bar                             WESTERN PA OFFICE, 100 Ross Street, Suite 330, Pittsburgh, PA 15219, P(412) 566-1001, F(412) 566-1005
§ Member FL Bar
° Menrber, AZ Bar                NEW JERSEY OFFICE, Executive Quarters, 1930 E. Marlton Pike, Suite Q29, Cherry Hill, NJ 08003, P(856) 751-4152, F(856) 216-7344
'Menrber, TXBar                            DELAWARE OFFICE, 501 Silverside Road, Suite 118, Wilmington, DE 19809, P(302) 791-9373, F(302) 791-9476
§Member, MlBar
rMember, WV Bar                        NEW YORK OFFICE, 1080 Avenue of the Americas, 8th Floor, New York, NY 10036, P(212) 719-7543, F(877) 617-2515
&Member, IL Bar                           BUFFALO, NY OFFICE, 1207 Delaware Avenue, Suite 440, BufPalo, NY 14209, P(716) 332-6112, F(800) 863-1689
>Member, INBar
                                         OHIO OFFICE, 4031 Colonel Glenn Highway, Suite 450, Beavercreek, OH 45431, P (937)306-7220, F(215) 540-8817
                                     SAN FRANCISCO, CA OFFICE, 75 Broadway, Suite 202, 91911 San Francisco, CA 94111, P(415) 947-7827, F(215) 540-8817
                                    SAN DIEGO, CA OFFICE, 101 West Broadway, Suite 300 PMB, #344 San Diego, CA 92101, P(619) 785-3003, F(215) 540-8817
                                       LOS ANGELES, CA OFFICE, 1055 West 7w Street, 33f° Floor, Los Angeles, CA 90017, P(213) 340-7770, F(215) 540-8817


                                                            PLEASE REMIT ALL CORRESPONDENCE TO THE AMBLER OFFICE


                                                                          February 3, 2021
                    General Motors LLC
                           Re:      Steven Jones v. General Motors LLC
                                    Allegheny County; No: AR-22-000285
                    Dear Sir or Madam:

                           Enclosed please find a copy of the above-referenced Complaint that has been filed
                    against General Motors LLC in the Court of Common Pleas, Allegheny County,
                    Pennsylvania. You are being served pursuant to the Pennsylvania Rules of Civil
                    Procedure, Rule 403.
                           Please submit the enclosed to your legal department. A responsive pleading is
                    due 20 days after the receipt of this complaint.

                                                                                          Very truly yours,


                                                                                          Robert M. Silverman
                                                                                          KIMMEL & SILVERMAN, P.C.
                    RMS/jcd
                    Enclosures
                 Case 2:22-cv-00360-WSS Document 1-2 Filed 02/28/22 Page 4 of 29


James Diver

From:                            Allegheny E-File
Sent:                            Thursday, February 03, 2022 1:27 PM
To:                              James Diver
Subject:                         FW: Approval Confirmation Submission ID: 2117000 CaseID: TMP1264079




From: webmaster.pro@county.allegheny.pa.us <WEBMASTER.PRO@COUNTY.ALLEGHENY.PA.US>
Sent: Thursday, January 27, 2022 8:46 AM
To: Allegheny E-File <alleghenyefile@lemonlaw.com>
Cc: promail@county.allegheny.pa.us
Subject: Approval Confirmation Submission ID: 2117000 CaselD: TMP1264079




                                             Approval Details
                   Please be advised tlzat dockets have been accepted by tlze
Alleglzeny County Department of Court RecoYds, Civil/Family Division for Case Number:AR-22-
                                             000285
                   Docketsfiledfor Temporary Case Number:TMP1264079
                Izave been assigned to Permanent Case number:AR-22-000285


~."Submission ID•        ~ 2117000

    Status:               Approved                         ~
                                     --         -------~~
                                                          ,
    Case Number:.         AR-22-000285                    ~~
    Case'Description: _ Jones vs Generafl Motors LiJC
°
    Filirig Date%Time:    1/25/2022 fl:00:4{ PM



                                          Docket Details are as follows:




Payinent Type : Credit Card
(There will be an additional 4% service charge on all Credit Card e-filings by the merchant card provider)
              Case 2:22-cv-00360-WSS Document 1-2 Filed 02/28/22 Page 5 of 29
Civil/Family Division Amount :187.75
Sheriff s Amount :
Total Amount :187.75
Receipt NO :8488394


   The Department of Court Records will not be assigning court dates to Arbitration matters as per
  Administrative Order AD-20-000095-PJ which was filed on March 16, 2020. Once the court resumes
  normal operations and the stay is lifted the Attorney/Litigant will be required to file a"Praecipe to
                  Schedule an Arbitration Date" in order to receive a hearing date.


                          ***contact civil@alleghenycounty.us within 10 days on any issues ***



       Tlaank you for irsing tlae DCR, Civil/Ficmily Division Electronic Filing and Retrieval System.


Confidentiality Notice: This e-mail message, including any attachments, is for
   the.sole use of the intended recipient(s) and may contain confidential and
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    contact the sender by reply e-mail and destroy all copies of the original
                                     message.




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IN THE COUIZT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Steven D. Jones,                       CIVIL DIVISION

                   Plaintiff,

      ►"
                                       NO..
General Motors LLC,

                   Defendant.
                                       COMPLAINT IN CIVIL ACTION

                                       Filed on behalf of Plaintiff:
                                       Steven D Jones

                                       COUNSEL OF RECORD FOR THIS PARTY:

                                       Robert M. Silverman, Esquire
                                       Identification No. 55914

                                       KIMMEL & SILVERMAN, P.C.
                                       30 East Butler Pike
                                       Ambler, PA 19002
                                       (215) 540-8888




                                WRIT WAIVED
         Case 2:22-cv-00360-WSS Document 1-2 Filed 02/28/22 Page 7 of 29




          IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                  DEPARTMENT OF COURT RECORDS CIVIL/FAMILY DIVISION
                                ARBITRATION DOCKET

Steven D.Jones                                                     ARBITRATION DOCKET
Plaintiff
                                                                   NO.
                                                    V S.

General Motors LLC                                                HEARING DATE: _
DEFENDANT                                                         Court Room 2
                                                                  City-County Building
                                                                  7th Floor
                                                                  9:00 A.M.

                                              NOTICE TO DEFEND
YOU HAVE BEEN SUED IN COURT. If you wish to defend against the claims set forth in the
following pages, you must take action within TWENTY (20) days after this complaint and notice
are served by entering a written appearance personally or by attorney and filing in writing with
the court your defenses or objections to the claims set forth against you. You are warned that if
you fail to do so the case may proceed without you and a judgment may be entered against you
by the court without further notice for any money claimed in the complaint or for any other claim
or relief requested by the plaintiff. You may lose money, property or other rights important to
you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. If you do not have a
lawyer, go to or telephone the office set forth below. This office can provide you with
information about hiring a lawyer. IF YOU CANNOT AFFORD TO HIRE A LAWYER, this
office may be able to provide yoti with infonnation about agencies that may offer legal service to
eligible persons at a reduced fee or no fee.

                                       LAWYER REFERRAL SERVICE,
                                      The Allegheny County Bar Association
                                            l lth Floor Koppers Bldg.
                                      436 Seventh Ave, Pittsburgh, PA 15219
                                           TELEPHONE 412-261-5555

                                                HEARING NOTICE
YOU HAVE BEEN SUED IN COURT. The above Notice to Defend explains what you must do to dispute the
claims made against you. If you file the written response referred to in the "Notice to Defend" a hearing before a
Board of Arbitrators will take place in Court Room 2, 7th floor of the City County Building, 414 Grant Street,
Pittsburgh, Pennsylvania on                      , 20     at 9:00 a.m. IF YOU FAIL TO FILE the response
described in the "Notice to Defend" a judgment for the amount claimed in the complaint may be entered against you
before the hearing.

                               DUTY TO APPEAR AT ARBITRATION HEARING
If one or more of the parties is not present at the hearing, THE MATTER MAY BE HEARD AT THE SAME TIME
AND DATE BEFORE A JUDGE OF THE COURT WITHOUT THE ABSENT PARTY OR PARTIES. THERE IS
NO RIGHT TO A TRIAL DE NOVO ON APPEAL FROM A DECISION ENTERED BY A JUDGE.
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NOTICE:   YOU MUST RESPOND TO THIS COMPI.AINT WITHIN TWENTY (20)
          DAYS OR A JUDGMENT FOR THE AMOUNT CLAIMED MAY BE
          ENTERED AGAINST YOU BEFORE THE HEARING.
          IF ONE OR MORE OF THE PARTIES IS NOT PRESENT AT THE HEARING, THE
          MATTER MAY BE HEARD IMMEDIATELY BEFORE A JUDGE WITHOUT THE
          ABSENT PARTY OR PARTIES. THERE IS NO RIGHT TO A TRIAL DE NOVO ON
          APPEAL FROM A DECISION ENTERED BY A JUDGE.
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                         CIVIL DIVISION

Steven D. Jones,

                      Plaintiff,

       vs.
                                                      No..
General Motors LLC,

                      Defendant.



                                       COMPLAINT

   1. Plaintiff, Steven D. Jones, is an adult individual citizen and legal resident of the

Commonwealth of Pennsylvania, residing at 119 Bradley Rd, Annville, PA 17003.

   2. Defendant, General Motors LLC, is a corporation qualified to do and regularly conduct

business in the Commonwealth of Pennsylvania, with its address and principal place of business

located at 30007 Van Dyke Avenue, Warren, MI 48090-9065, and can be served at c/o

Corporation Service Company, 2595 Interstate Drive, Harrisburg, PA 17110.



                                      BACKGROUND
   3. On or about March 25, 2021, Plaintiff purchased a new 2020 Chevrolet Silverado 5500,

manufactured and warranted by Defendant, bearing the Vehicle Identification Number

1HTKJPVK5LH856444.

   4. The vehicle was purchased in the Commonwealth of Pennsylvania and is registered in the

Commonwealth of Pennsylvania.




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     5. The contract price of the vehicle, including registration charges, document fees, sales tax,

finance and bank charges, but excluding other collateral charges not specified, yet defined by the

Lemon Law, totaled more than $81,000.00. A true and correct copy of the contract is attached

hereto, made a part hereof, and marked Exhibit "A".

     6. In consideration for the purchase of said vehicle, Defendant issued to Plaintiff several

warranties, guarantees, affirmations or undertakings with respect to the material or workmanship

of the vehicle and/or remedial action in the event the vehicle fails to meet the promised

specifications.

     7. The above-referenced warranties, guarantees, affirmations or undertakings are/were part

of the basis of the bargain between Defendant and Plaintiff.

     8. The parties' bargain includes an express 3 year/36,000 mile warranty, as well as other

guarantees, affirmations and undertakings as stated in Defendant's warranty materials and

owner's manual.

     9. However, as a result of the ineffective repair attempts made by Defendant through its

authorized dealer(s), the vehicle is rendered substantially impaired, unable to be utilized for its

intended purposes, and is worthless to Plaintiff.

     10.The first documented warranty repair attempt is believed to have occurred on or before

August 18, 2021, when the vehicle odometer showed 4,122 miles. On that date, no repair

attempts were made after client reports major electrical issues and the ABS light is on. A true

and correct copy of the repair invoice is attached hereto, made a part hereof and marked Exhibit

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    11.The second documented warranty repair attempt is believed to have occurred on or before

August 30, 2021, when the vehicle odometer showed 4,440 miles. On that date, repair attempts

were made to the EBCM after client reports major engine electrical issues and the ABS light is

back on. A true and correct copy of the repair invoice is attached hereto, made a part hereof and

marked Exhibit "C".

    12.The third documented warranty repair attempt is believed to have occurred on or before

October 19, 2021, when the vehicle odometer showed 5,950 miles. On that date, no repair

attempts were made after client reports major electrical issues. A true and correct copy of the

repair invoice is attached hereto, made a part hereof and marked Exhibit "D".

    13.The fourth documented warranty repair attempt is believed to have occurred on or before

October 30, 2021, when the vehicle odometer showed 6,000 miles. On that date, the client had

no choice but to effectuate cover under the UCC and trade in the unsafe vehicle for a new 2021

Chevrolet Silverado. However, as marked in Exhibit "E", the dealer only offered him $66,000.00

for his vehicle, leaving the client with a net loss of $15,000.00 on a car that only had 6,000 miles

on it. The client remains a loyal GM customer as he purchased another Silverado new.



                                    COUNT I
                      PENNSYLVANIA AUTOMOBILE LEMON LAW

    14.Plaintiff hereby incorporates all facts and allegations set forth in this Complaint by

reference as if fully set forth at length herein.

   15.Plaintiff is a"Purchaser" as defined by 73 P.S. §1952.

   16.Defendant is a"Manufacturer" as defined by 73 P.S. §1952.




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    17. Klick-Lewis, INC. is and/or was at the time of sale a Motor Vehicle Dealer in the

business of buying, selling, and/or exchanging vehicles as defined by 73 P.S. §1952.

    18. On or about March 25, 2021, Plaintiff took possession of the above mentioned vehicle

and experienced nonconformities as defined by 73 P.S §1951 et secl., which substantially impair

the use, value and/or safety of the vehicle.

    19. The nonconformities described violate the express written warranties issued to Plaintiff

by Defendant.

    20. Section 1955 of the Pennsylvania Automobile Lemon Law provides:

                If a manufacturer fails to repair or correct a nonconformity after a reasonable number of
                attempts, the manufacturer shall, at the option of the purchaser, replace the motor
                vehicle... or accept return of the vehicle from the purchaser, and refund to the purchaser
                the full purchase price, including all collateral charges, less a reasonable allowance for
                the purchasers use of 'the vehicle, not exceeding $.10 per mile driven or 10% of the
                purchase price of the vehicle, whichever is less.

    21. Section 1956 of the Pennsylvania Automobile Lemon Law provides a presumption of a

reasonable number of repair attempts if:

                (1)     The same nonconfonnity has been subject to repair three times by the
                        manufacturer, its agents or authorized dealers and the nonconformity still exists;
                        or

                (2)     The vehicle is out-of-service by reason of any nonconformity for a cumulative
                        total of thirty or more calendar days.

   22. Plaintiff has satisfied the above definition as the vehicle has been subject to repair three

(3) times for the same nonconformity, and the nonconformity remained uncorrected.

   23.In addition, the above vehicle has or will be out-of-service by reason of the

nonconformities 'complained of for a cumulative total of thirty (30) or more calendar days.

   24. Plaintiff has delivered the nonconforming vehicle to an authorized service and repair

facility of the Defendant on numerous occasions as outlined below.




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    25. After a reasonable number of attempts, Defendant was unable to repair the

nonconformities.

    26. Plaintiff avers the vehicle has been subject to additional repair attempts for defects and

conditions for which Defendant's warranty dealer did not provide or maintain itemized

statements as required by 73 P.S. § 1957.

    27. Plaintiff avers that such itemized statements, which were not provided as required by 73

P.S. § 1957 also include technicians' notes of diagnostic procedures and repairs, and Defendant's

Technical Service Bulletins relating to this vehicle.

    28. Plaintiff avers the vehicle has been subject to additional repair attempts for defects and

conditions for which Defendant's warranty dealer did not provide the notification required by 73

P.S. § 1957.

    29. Plaintiff has and will continue to suffer damages due to Defendant's failure to comply

with the provisions of 73 P.S. §§ 1954 (repair obligations), 1955 (manufacturer's duty for refund

or replacement), and 1957 (itemized statements required).

    30. Pursuant to 73 P.S. § 1958, Plaintiff seeks relief for losses due to the vehicle's

nonconformities, including the award of reasonable attorneys' fees and all court costs.

        WHEREFORE, Plaintiff respectfully demands judgment against Defendant in an

amount equal to the price of the subject vehicle, plus all collateral charges, attorneys' fees, and

court costs.




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                                 COUNT II
              MAGNUSON-MOSS (FTC) WARRANTY IMPROVEMENT ACT

    31. Plaintiff hereby incorporates all facts and allegations set forth in this Complaint by

reference as if fully set forth at length herein.

    32. Plaintiff is a"Consumer" as defined by 15 U.S.C. §2301(3).

    33. Defendant is a"supplier", "warrantor", and a"service contractor" as defined by 15 U.S.C.

§ 2301 (4),(5) and (8).

    34. The subject vehicle is a"consumer product" as defined by 15 U.S.C. § 2301(1).

    35.I3y the terms of its written warranties, affirmations, promises, or service contracts,

Defendant agreed to perform effective repairs at no charge for parts and/or labor.

    36. The Magnuson-Moss Warranty Improvement Act requires Defendant to be bound by all

warranties implied by state law. Said warranties are imposed on all transactions in the state in

which the vehicle was delivered.

   37. Defendant has made attempts on several occasions to comply with the terms of its

express warranties; however, such repair attempts have been ineffective.

   38. The Magnuson-Moss Warranty Improvement Act, 15 U.S.C. §2310(d)(2) provides:

       If a consumer finally prevails on an action brought under paragraph (1) of this subsection, he may be
       allowed by the court to recover as part of the judgment a sum equal to the amount of aggregate amount of
       costs and expenses (including attorney fees based upon actual time expended), determined by the court to
       have been reasonably incurred by the Plaintiff for, or in connection with the commencement and
       prosecution of such action, unless the court, in its discretion shall determine that such an award of
       attorney's fees would be inappropriate.

   39. Plaintiff has afforded Defendant a reasonable number of opportunities to conform the

vehicle to the aforementioned express warranties, implied warranties and contracts.

   40. As a direct and proximate result of Defendant's failure to comply with the express written

warranties, the Defendant has breached said warranties, has violated the Magnuson-Moss


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Warranty Improvement Act, the Plaintiff has suffered damages and, in accordance with 15

U.S.C. §2310(d)(1), the Plaintiffs are entitled to bring suit for such damages and other legal and

equitable relief.

    41. At the time of obtaining possession of the vehicle and at all times subsequent thereto,

Plaintiff has justifiably relied upon Defendant's express warranties and implied warranties of

fitness for a particular purpose and implied warranties of inerchantability.

    42. At the time of obtaining possession of the vehicle and at all times subsequent thereto,

Defendant was aware Plaintiff was relying upon Defendant's express and iinplied warranties,

obligations, and representations with regard to the subject vehicle.

    43. Plaintiff has incurred damages as a direct and proximate result of the breach and failure

of Defendant to honor its express and implied warranties.

    44. Such damages include, but are not limited to, the sales price of the vehicle plus all

collateral charges, including attorney fees and costs, as well as other expenses, the full extent of

which are not yet known.

    45. Plaintiff avers that upon successfully prevailing upon the Magnuson-Moss claim herein,

all attorney fees are recoverable and are demanded against Defendant.

   WHEREFORE, Plaintiff respectfully demands judgment against Defendant in an amount

equal to the price of the subject vehicle, plus all collateral charges, incidental and consequential

damages, reasonable attorneys' fees, and all court costs.




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                                       COUNT III
                              PENNSYLVANIA UNFAIR TRADE
                        PRACTICES AND CONSUMER PROTECTION LAW

    46. Plaintiff hereby incorporates all facts and allegations set forth in this Complaint by

reference as if fully set forth at length herein.

    47. Plaintiff is a"Person" as defined by 73 P.S. §201-2(2).

    48. Defendant is a"Person" as defined by 73 P.S. §201-2(2).

    49. Section 201-9.2(a) of the Act authorizes a private cause of action for any person "who

purchases or leases goods or services primarily for personal, family or household purposes."

    50. Section 1961 of the Pennsylvania Automobile Lemon Law, provides that a violation of its

provisions shall automatically constitute a violation of the Pennsylvania Unfair Trade Practices

and Consumer Protection Act, 73 P.S. 201-1 et sec .

    51. In addition, the Pennsylvania Unfair Trade Practices and Consumer Protection Act, 73

P.S. §201-2(4), defines "unfair or deceptive acts or practices" to include the following conduct:

               (vii).    Representing that goods or services are of a particular standard, quality or grade,
                         or that goods are of a particular style or model, if they are of another;

               (xiv). Failing to comply with the terms of any written guarantee or warranty given to
                      the buyer at, prior to, or after a contract for the purchase of goods or services is
                      made;

               (xv).     Knowingly misrepresenting that services, replacements or repairs are needed if
                         they are not needed;

               (xvi). Making repairs, improvements or replacements on tangible, real or personal
                      property of a nature or quality inferior to or below the standard of that agreed to
                      in writing;

               (xvii). Engaging in any other fraudulent or deceptive conduct which creates a
                       likelihood of confusion or of misunderstanding.

    52. Plaintiff avers Defendant has violated these, as well as other provisions, of 73 P.S. §201-

2 et seq.



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    53. Section 201-3.1 of the Act provides that the Automotive Industry Trade Practice rules

and regulations adopted by the Attorney General for the enforcement of this Act shall constitute

additional violations of the Act.

    54. Defendant's conduct surrounding the sale and servicing of the subject vehicle falls within

the aforementioned definitions of "unfair or deceptive acts or practices."

    55. The Act also authorizes the Court, in its discretion, to award up to three (3) times the

actual damages sustained for violations.

       WHEREFORE, Plaintiff respectfully demands judgment against Defendant in an

amount not in excess of Thirty Five Thousand Dollars ($35,000), together with all collateral

charges, attorneys' fees, all court costs and treble damages.



                                                  KIMMEL & SILVERMAN, P.C.




                                                  Robert M. Silverman, Esquire
                                                  Attorney for Plaintiff
                                                  30 East Butler Pike
                                                  Ambler, PA 19002
                                                  (215) 540-8888




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                                 VERIFICATION


        I, Robert M. Silverman, Esquire, being duly sworn according to law, depose and say that

I am the attorney for the Plaintiff , in this action and that the facts set forth in the foregoing

Complaint are true and correct to the best of my knowledge; information and belief. I understand

that any false statements made herein are subject to the Penalties of 18 Pa. C.S.A. §4904, relating

to unsworn falsifications to authorities.




                                                    Robert M. Silverman, ESQUIRE
                                                    Attorney for Plaintiff




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                                                         KL1CK-LEWIS CHEVROLET, BUICK                                                                               cn
                                                        720 East Main St. " Palmyra pa 17078                                                                        0)
                                                              717-f338-1353 " 800-222-1973                                                                          ®
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                                                                 www.kii,-,L-!--w*!scar.-.com                                                                       00
                                    Open Mon 7-4PM TUES-THURSDAY 7-6pm FRI 7-4PM SATURDAY 7-3PM                                                                     C'
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     STEVEN DOUGLAS JONES                                       VEHICLE ID                MILES IN I MILES OUT I         DATE/TIME IN      I DATE OUT     INVOICE NO.
     1516 POPLAR ST                                   1HTKJPVK5LH856444                1 4122 1 4123               08/18/21 08:16 08/19/21                  56008
     NORTHAMPTON, PA 18067                                                VEHICLE DESCRIPTION                                TAG NO.                 STATUS
     osirissokarjonesCgmail.com                    2020 CHEVROLET SILVERADO (SUMMIT WHI)                                      07459 PARTiAL-CUMPLETE-P
         CONTROL NO.         LICENSE PLATE NO.     CUST. LABOR RATE      PROD. DATE   IN-SERV DATE         DELIV. DATE      DELIV. MILES                TERMS
           61295                                        VARI                           03/25/21            03/25/21            137                 No Charge
         HOME PHONE             WORK PHONE              CELL PHONE            STOCK NO.                       SERV. ADV.                             This Prints
      (484) 735-4102                                (484) 735-4102            0823050              MICHAEL HAYES (131)                      PREMIER ELITE/GAP
    THP.NI: YOU FOR DOING HUSIIVESS SVITH US AT KLICK.-LEI9IS


       Line           Op-Code               Fai! Code              Tech          Hours           Type                                   Arnount
        A *             DIAG                                        D13                         Warrantv
       Concern        C/S: Every time they go over a bump the ABS light comes on. The brake light
                      comes on. The trailer light comes on. Service trailer brake notification, check and
                      advise
       Cause          FOUND SEVERAL CODES STORED. U0415 SYM 00, C0506 SYM 5A, U0121
                      SYM 00 AND P215A SYMP 5A. COULD NOT DUPLICATE CONDITION ALL
                      CODES STORED IN HISTORY.WIGGLED HARNESSES CHECKED EBCM
                      CONNECTIONS AND DROVE SEVEN MILES AND COULD NOT DUPLICATE.
                      CHECKED FOR BULLITENS AND NONE FOUND
        B '            WCI                        D13                                           Internal
       Concern        GM MULTIPOlNT FREE COURTESY INSPECTION
                                                                     Customer Totals
      Charge Description                                                                                                                Amount
      Total Amount Due                                                                                                                       $0.00




                                 STATENEN'1' OF DISCLAIhIER                      ! on behalf of =_ervicing deal.er , I hereby ce.rti.fy that the
    ^he factory warranty constitutes all of the warranties with respect !information contained hereon is accurate unless otherwise
    to the sale of this item/items. 't'he 3e11er hereby expressly                                                                   shown.
                                                                        !Warranty services described were. performed at no charga to owner.
    disclaims all warranties either express or implied, including any   IThere was no indication from the appearance of the vehicle or
    impli.ed warranty of inerchantability or 'itness for a particular   ~otherwise, that any part repaired or renlaced under ttiis
    puroose. Seller neither assumes nor authorizes any other person to been connected in any way with any accident, negligencc, claim had
    assume Eor it any liability in co:uiection with the sale of this                                                               or misuse.
                                                                         Records supporcing this claim are svaiiable £or (1) year *rom the
    item/items.                                                         Idate of paymer_t notification at the servicing dealer for inspection
                                                                        'by manufacturer's representative.
                          CUS'1'Oclx'R SIGNATURE

                                                                     Q PLAINTIFF' S         .
                                                                                                     DEALER, GF.NEILaL MAtdAGER OR AUT?tORI7,EU PERSON
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     Oct 30 21, 10:49p                                                                                                                            p.13


                                                      KLICK-LEWIS CHEVROLET, BUICK                                                                                 ol
                                                      720 East Main St. ' Palmyra pa 17078                                                                         ~
                                                         717-838-1353 ` 800-222-1973                                                                               01
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                                Open Mon 7-4PM TUES-THURSDAY 7-6pm FRI 7-4PM SATURDAY 7-3PM                                                                        C-
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    STEVEN DOUGLAS JONES                                       VEHICLE ID                  MILES IN    MILES OUT        DATE/TIME IN      DATE OUT       1NV010E NO.
    1516 POPLAR ST                                  iHTKJPVK5LH856444                    1 4440 1 4440              08/30/21 12:58 08/31/21                56452
    NORTHAMPTON, PA 18067                                                   VEHICLE DESCRIPTION                             TA(3 NO.              STATUS
    osirissokarjones@grnaii.corn                 2020 CHEVROLET SILVERADO (SUMMIT WHI)                                     107938 PARTIAL-COMPLETE-P
        CONTROL NO.        LICENSE PLATE NO.     CUST. LABOR RATE       PROD. DATE      IN-SEAV DATE      DELIV. DATE      DELIV. M1LES              TERMS
            61295                                      VARI                              03/25/21         03/25/21            137                     Cash
        HOME PHONE           WORK PHONE               CELL PHONE               STOCK NO.                     SERV. ADV.                             This Prints
     (484) 735-4102 1                             (484} 735-4102 1             0823050          JOSEAN GONZALEZ (D15)                     PREMIER ELITE/GAP
    THANK YOU FOR DOLNG BUSINESS WITH US hT KLICK-LE~rTIS


      Line           Op-Code              Fail Code               Tech            Hours         Type                                   Amount
        A              WCI                                         D13                         Internal
      Concern        GM MULTIPOINT FREE COURTESY INSPECTION
             Sublet Code                  Vendor Name                                PO# / Description
                                          #5045                                     PO # 725 531331
        B                                              013           Warrantv
      Concern        Customer states ABS LIGHT IS ON. PLEASE ADVISE.
      Cause          LIGHT WAS ON FOR A SHORT AMOUT OF TIME AND THEM WENT OUT AND
                     HASNT RETURNED. CHECKED FOR CODES AND FOUND CODES U0415
                     SYM00 INVALID DATA RECEIVED FROM BCM, U0121 SYM 00 LOST COMM
                     WiTH EBCM, C0506 SYM 5A RF WSS CIRCUI T., AND C0500 SYM 5A LF WSS
                     CIRCUIT. WIGGLED HARNESSES TAPPED ON MODULE COULD NOT
                     DUPLICATE. CHECKED FOR BULLITENS AND NONE FOUND. CONTACTED
                     TAC (Case Number : 9-6911331481) AND WAS INSTARUCTED TO CHECKED
                     EBCM PROGRAM AND THEN SDGM PROGRAMMING AND VERIFY PROPER
                     PIN CONTACTS. 1F ALL WAS GOOD REPLACE EBCM. ORDRED EBCM.
       C                                                           D13
                                                                   Custom er                                                              $0.00
      Concern    Customer states RF TIRE IS LEAKING. PLEASE ADVISE.
      Cause      FOUND STONE PEIRCED THROUGH TIRE
      CarrectEon REPLACED RF TIRE
             Part Number              -            Description                                               Qty      Unit Price       Ext. Price
             19427625                              C2257019.                                                    1        $322.00          $322.00
             TIRETAX                               TIRE TAX                                                     1           $1.00            $1.00
             TIREDISP                              DISPOSAL FEE                                                 1           $3.00            $3.00
                                                                                                                 Parts Total...           $326.00

                                                                                                                    Line Total...         $326.00




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                      Case 2:22-cv-00360-WSS Document 1-2 Filed 02/28/22 Page 24 of 29
  Oct 30 21, 10:48p                                                                                                                     p,12


                                                      VEHICLE ID                MILES IN     MILES OUT       DATPITIME fN      I DATE OUT      INVOICE NO.
 STEVEN DOUGLAS JONES
 1516 POPLAR ST                               1HTKJPVK5LH856444               1 4440 1 4440              08/30/21 12:58 08/31/21                 56452
                                                               VEHICLE DESCRIPTION                               TAG NO. I                STATUS
 NORTHAMPTON, PA 18067
 osirissokarjones~gmaii.cort5              2020 C~iEVr,OLET SILVE4AD0 (SUMMITb"d{-fl)                             V7JJV      P."~HTi ;L-^v0 v7RL@;E-'~
     CONTROL NO.       LICENSE PLATE NO.   CUST. L1180R RATE I PROD. DATE     IN-SERV DATE     DELIV. DATE      DEL1V. MILES                TERMS

        61295                                   VARI                           03/25/21        03/25/21            137                      Cash
     HOME PHONE           WORK PHONE           CELL PHONE          STOCK NO.      I               SERV. ADV.                              This Prints

   (484) 735-4102                           (484) 735-4102         0823050        1 JOSEAN GONZALEZ (D15)                       PREMIER ELfTE/GAP
                                                            Customer Totals
   Charge Description                                                                                                          Amount
   Parts                                                                                                                          $3-00
   SalesTax                                                                                                                     $19•56
   Parts-Other                                                                                                                 $323.00
   Total Amount Due                                                                                                            $345.56


   Amount Due                                                                                                                  $345.56




                              STATEMENT OF DISCi,A2,SB7                   On behalf of servi.cing dealer, I hereby certify that the
  The factory warranty constitutes all of the warrant'_es with respect    information contained hereon is aecurate unless otherwise shoc,•n.
  to the sale of this  itPan(items.   The Seller hereby e:cpressly        Frarranty services described were performed at no cFarge to owr.er.
  disclaims all warranties eithzr express or implied, including any       There was no indication from the appearance of the vehicle or
  implied euarranty of inerchantabilit;r or fitness tor a particular      othar~vise, that any part repaired or replaced ucider this claim had
  purpose. Seller neither assumes nor author.izes any other person L- o   been connected in any way with any accident, negligence, or misuse,
  assume for it any liability in eonnection with the sale of this         Records supporting this cLaim are available for (1) year from the
  itemlitems.                                                             date of payment notification at the servicing dealer for inspection
                                                                          by manufacturer's representative.

                      CUSTOMER SIGNATURE
                                                                                (SIC-NED)    DEhLER, GEN:I2AL NANAGER OR AUTHORIZED PER30N
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                     Case 2:22-cv-00360-WSS Document 1-2 Filed 02/28/22 Page 25 of 29
  Oct 30 21, 10:47p                                                                                                                              p.10


                                                      KLICK-LEWIS CHEVROLET, BUICK                                                                               Lri
                                                      720 East Main St. ' Palmyra pa 17078                                                                          N
                                                         717-838-1353 " 800-222-1973
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                                Open Mon 7-4PM TUES-THURSDAY 7-6pm FRI 7-4PM SATURDAY 7-3PM                                                                      L
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STEVEN DOUGLAS JONES                                         VEHICLE ID                  MILES IN     MILES oUT I     DATEfTIME IN                       VOICE NO.
1516 POPLAR ST                                   1HTKJPVK5LH856444                        5950          5950        10/19/21 16:3                        58277
NORTHAMPTON, PA 18067                                                    VEHICLE DESCRIPTION                              TAG NO. 7ST               ATUS
osirissokarJones@gmail.com                    2020 CHEVROLET SILVERADO (SUMMIT WHI)                                                                        TE
    CONTROL NO.           LICENSE PLATE NO.   CUST. LABOR RATE        PROD. DATE       IN-SERV DATE     DELIV. DATE      DELIV. MILE

        61295                                         VARI                              03/25/21        03/25/21            137                          h
    HOME PHONE              WORK PHONE            CELL PHONE                STOCK NO.                      SERV_ ADV.                             This Prints
  (484) 735-4102                               (484) 735-4102 1             0823050          JOSEAN GONZALEZ (D15)                       PREMIER ELITE/GAP
THAPl( YOU FOR DOIIVG BUSINESS WITH US A'1' ICLICK-LEWIS


  Line             Op-Code            Fail Code                   Tech         Hours         Type                                    Amount
   A                LOFD                        D13           Customer                                                                 695.63
  Concern          LUBE OIL FILTER SPECIAL, DIESEL VEHICLES UP TO 11 QUARTS OIL
             15W401NCLUDES A MULTIPOINT VEHICLE INSPECTION
  Cause      MAINTENANCE           ~
  Correction PERFORMED SERVICE
         Part Number                             Description                                               QtY-      Unit Price        Ext. Price
         88862613                               15W40DEXOS-SYN                                              11            $6.00           $66.00
         19419485                               FILTER                                                         1         $19.32           $19.32

                                                                                                               Parts Total...           $85.32
         Misc. Code                              Description                                               QtY• Unit Price             Ext. Price
                                                HZD WASTE REMOVAL                                           1.0           $5.00            $5.00                ~
                                                                                                                Misc Total...            $5.00

                                                                                                                   Line Total...        $185.95
    B               WCI                                           D13                       Internal
  Concern          GM MULTIPOINT FREE COURTESY INSPECTION


                                                                   A uth o ri zed_Esti m ates
    Datelrime          Amount         Authorized By                 Authorization Method     Phone/Email
10/19/2021 16:39            $124.95                                 Inttial Estimate




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 STEVEN DOUGLAS JONES                                   VEHICLE ID               MiLES IN    MILES OUT       DATE/TIME IN       DATE OUT I     NVO.lCE.NO:

1516 POPLAR ST                                  1HTKJPVK5LH856444             1 5950          5950    1 10/19/21 16:39110119/211                58277
NORTHAMPTON, PA 18067                                             VEHICLE DESCRIPTION                            TAG NO.                 STATUS

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                                 vv„~         2020 CHEVROLET SiLy/`Cl~DlJ
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    CONTROL NO.           LICENSE PLATE N0.   CUST. LABOR RATE   PROD. DATE   IN-SERV DATE     DELIV. DATE      DELIV. MILE6                 TERMS
       61295                                       VARI                        03/25/21        03/25/21            137                       Cash
    HOME PHONE               WORK PHONE           CELL PHONE         STOCK NO.                    SERV. ADV.                             This Prints
  (484) 735-4102                               (484) 735-4102 1      0823050         JOSEAN GONZALEZ (D15)                      PREMIER ELITE/GAP
                                                               Customer Totals
  Charge Description                                                                                                        Amount
  Parts                                                                                                                         $19.32
  SalesTax                                                                                                                      $11.16
  Labor-Other                                                                                                                   $95.63
  Misc.Chg                                                                                                                       $5.00
  Parts-Other                                                                                                                   $66.00
  Total Amount Due                                                                                                             $197.11

  Amount Due                                                                                                                   $197.11




                           STATMENT O, DI3CLAIMER                      On behalf of servicing dealer, T_ hereby certify that the
The factory swarranty constitutes all of the warrantl.es with respect infornation contained hereon is accurate unless otherwise shown.
to the sale of cnis item/item.s. The Seller hereby expressly           Warranty services de.scribed were performed at no charge to owner.
disclaims all warranties either express or. implied, i.ncluding any   iThere was no indication from the appearance of the vehicle oz
implied srarranty of inerchantability or Litness for a particular      other.wise, that anv part repaired or replaced under this claim had
purpose. Seller neithar assumes nor autherizes aiiy other persor. to beeti connected ia any way with any accident, negligence, or misuse.
assume for it any liability in connecticn wit2i tha sale of this       Records supporLing this claim are available for (1) year frcm the
item/items.                                                            date of payment notification at the s?rvicina dealer for insoection
                                                                       b_v manufacture:•'s representati.ve.
                       CUSTOPtER SIGNP.TURE
                                                                               (SIGDIED)     DEALER, GEtdERAL NANAGER OR AiITHORIZED rERSON
                                                                          ( DATE )

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                                          Case 2:22-cv-00360-WSS Document 1-2 Filed 02/28/22 Page 28 of 29
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 j; and we,inust•sign'i1, No oral clianges are•b'                                                                                                                                                      or'example, we
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